Case 2:04-cr-20495-.]PI\/| Document 23 Filed 07/14/05 Page 1 of 5 PagelD`BfO
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UN|TED STATES DlSTRlCT COURT Y

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MEMPHls DlvlsloN ll¢ p" ha
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uNlTED sTATEs oF AMr-:RicA QMMWM GGOUO
W‘DU '>
-v- 2:04cR20495-01-Ml O‘ “- days WCUW

EUDORO FERNANDEZ RODR|GUEZ
Jacob Erwin CJA
Defense Attorney
200 Jefferson Avenue, #1313
Memphis, TN 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on April 12, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section M_Q!.IFM Offense Numberjsj
Conc|uded
18 U.S.C. §3146(a)(1) Failure to Appear in Case 95-20033 04/12/1995 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |V|andatory
Victirns Restitution Act of 1996.

iT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11/11/1961 July 14, 2005
Deft’s U.S. Marshal No.: 15046-076

Defendant’s Mai|ing Address:
Domisilio Conosido

La Bocanda lVlunisipio
Tepa|catepec Michoacan, lVlexico

etc m ittth
J N PH|PPS lVlcCALL/-\
UN| ED S ATES DlSTRlCT JUDGE

July 19 , 2005
T'nls document entered on the docket sheet‘izn comp 'ance
with Fiu|a 55 and/or 32(5) FFiCrP on 12` LJ£S

 

   

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Case No: 2:04CR20495-O1-Ml Defendant Name: Eudoro Fernandez RODRIGUEZ Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 15 Months (or 1 Year and 3 Months).

The Court recommends to the Bureau of Prisons: the defendant be referred to
the appropriate federal agency for deportation proceedings

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20495-01-M| Defendant Name: Eudoro Fernandez RODR|GUEZ Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years if he is not deported.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the foi|owing standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shali answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oft"lcer;

9. The defendant shall permit a probation ofEcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20495-01-Ml Defendant Name: Eudoro Fernandez RODR|GUEZ Page 4 of 4
law enforcement ofticer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a line or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
retease:

1. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

2. The defendant shall not illegally re-enter the United States.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$50.00

The Special Assessment shall be due immediately

F|NE
No fine imposed.

RESTlTUT|ON
No Restitution was ordered.

ISTRIC COURT - WESTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20495 Was distributed by faX, mail, or direct printing on
July 15, 2005 to the parties listed.

 

 

Lorraine Craig

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1\/lemphis7 TN 38103

.1 acob E. Erwin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

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Honorable .1 on McCalla
US DlSTRlCT COURT

